Case 5:18-cv-00198-EJD Document 147-6 Filed 05/17/18 Page 1 of 2




                 EXHIBIT 5
       Case 5:18-cv-00198-EJD Document 147-6 Filed 05/17/18 Page 2 of 2




                                                     U.S. Department of Justice

                                                     Antitrust Division

                                                     450 5th Street, N. W.
                                                     Washington, DC 20530



                                                     April 18, 2018



Scott Hammond
Gibson, Dunn & Crutcher, LLP
1050 Connecticut Avenue, N.W.
Washington, DC 20036-5306
shammond@gibsondunn.com

               Re:    Panasonic Corporation

Dear Mr. Hammond:

       This letter confirms that your client Panasonic Corporation is not currently a subject of
any Antitrust Division investigation involving inductors. If the Antitrust Division obtains new or
additional infonnation or evidence, we may open an inquiry into your client. Although
Panasonic is not currently a subject, it may have documents relevant to such an investigation.
Accordingly, we ask that Panasonic and any related entities please take reasonable steps to
preserve any such documents or infonnation.

                                                     Sincerely,

                                                    .~
                                                    Christina Brown
                                                    Trial Attorney
                                                    Washington Criminal II
